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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 ESR PERFORMANCE CORP.,

                           Plaintiff,

 v.                                                          Case No: 6:18-cv-1601-Orl-78GJK

 JVMAX, INC.,

                           Defendant.
                                                 /

                    ORDER REGARDING SETTLEMENT CONFERENCE

         This case has been referred to the undersigned for a settlement conference. (Doc. 113.) The

 undersigned has observed that settlement conferences are often unproductive unless the parties

 have made a serious effort to settle the case on their own by exchanging demands and offers before

 the conference. Accordingly, before arriving at the settlement conference the parties are to

 negotiate and make a good faith effort to settle the case without the involvement of the Court as

 follows:

         1. On or before Friday, October 18, 2019, Plaintiff shall make a written offer to

 Defendant, which contains a detailed explanation of the basis for any monetary amount or other

 type of relief demanded; and

         2.   On or before Wednesday, October 23, 2019, Defendant shall make a written

 counteroffer to Plaintiff with an explanation of how it arrived at any monetary amount or other

 type of relief offered.

         In the event the foregoing exchange does not resolve this matter, it is further ORDERED

 that:
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          On or before Friday, October 25, 2019, each party shall provide the undersigned with a

 concise, confidential statement of the evidence the party expects to produce at trial and a full

 outline of the settlement negotiations to date, including a copy of Plaintiff’s written offer and

 Defendant’s counteroffer outlined above. Each party shall e-mail their respective reports to

 chambers_flmd_Kidd@flmd.uscourts.gov.

          The foregoing deadlines will not be extended absent a showing of extraordinary good

 cause.

          All parties and their counsel shall appear before the undersigned on Tuesday, October 29,

 2019, at 9:30 A.M. in Courtroom 4C, U.S. Courthouse, 401 W. Central Boulevard, Orlando,

 Florida 32801.

          The representatives attending the settlement conference shall have authority to resolve the

 case. Thus, an individual with full authority to execute any written settlement agreement

 ultimately reached shall be present at the conference. A party that does not appear with an

 individual with full settlement authority may be subject to the imposition of sanctions.

 Likewise, a party that fails to negotiate in good faith during the settlement conference may be

 subject to the imposition of sanctions. Should a compromise be reached, the parties will be

 expected to reduce their agreement to writing at the settlement conference.

          Counsel for each party may bring one laptop and one cellular phone to the settlement

 conference in order to facilitate settlement discussions and, if necessary, assist with drafting of the

 settlement agreement. All cellular phones must be silenced upon entering the Courthouse.




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        DONE and ORDERED in Orlando, Florida on October 16, 2019.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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